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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA
                                  WASHINGTON, DC

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §           CRIMINAL NO. 1:21-C00060-CKK
                                                §
JESUS D. RIVERA                                 §


           DEFENDANT’S NOTICE OF WAIVER OF PERSONAL APPEARANCE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          COMES NOW Defendant, through Counsel, and waives his personal appearance at the

time the verdict is returned and consents to receiving the verdict and written findings by posting

to the docket as well as by appearance in a zoom hearing.

                                                    Very respectfully,


                                                    /S/ Guy L. Womack

                                                    Guy L. Womack
                                                    Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

      A copy of the foregoing was delivered via CM/ECF to the U. S. Attorney’s Office on this
     th
17 day of June, 2022.

                                                    /S/ Guy L. Womack
                                                    Guy L. Womack
